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 5 Attorneys for Guo Ma

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 7

 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                      CASE NO. 2:14 –CR-00330-GEB
12                                          Plaintiff,              STIPULATION REGARDING
                                                                    EXCLUDABLE TIME PERIODS
13   v.                                                             UNDER SPEEDY TRIAL ACT;
                                                                    [PROPOSED] FINDINGS AND
14   GUO MA,                                                        ORDER
15                                          Defendant.
16

17
               Defendant Guo Ma, by and through Linda M. Parisi, his counsel of record, and plaintiff, by
18
     and through its counsel, Christiaan Highsmith, hereby stipulate as follows:
19
               1.         By previous order, this matter was set for status on August 14, 2015.
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               2.        By this stipulation, the defendant now moves to continue the status conference until
21
     August 28, 2015, at 9:00 a.m. and to exclude time between August 14, 2015 and August 28, 2015
22
     and under Local Code T4. The United States does not oppose this request.
23
               3.        The parties agree and stipulate, and request that the Court find the following:
24
                         a.        The United States has represented that the discovery associated with this case
25
               includes investigative reports and related documents.
26

27

28                                                              1
          Stipulation and [Proposed] Order for Continuance of
29        Status Hearing and for Exclusion of Time

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                 Case 2:14-cr-00330-TLN Document 45 Filed 08/13/15 Page 2 of 4



 1          b.        Counsel for Mr. Ma need additional time to consult, to review discovery, and to

 2 discuss potential resolutions, including setting the matter for trial.

 3          c.        Counsel for defendant Mr. Ma believe that failure to grant the above-requested

 4 continuance would deny them the reasonable time necessary for effective preparation, taking into

 5 account the exercise of due diligence.

 6          d.        The United States Attorney agrees to the continuance.

 7          e.        All counsel agrees to the continuance.

 8          f.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.§ 3161, et

 9 seq., within which trial must commence, the time period of August 14, 2015 and August 28, 2015,

10 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 316l(h)(7)(A), B(iv) [Local CodeT4]

11 because it results from a continuance granted by the Court at defendant's request on the basis of the

12 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

13 public and the defendant in a speedy trial.

14          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

15 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

16 a trial must commence.

17 Dated: August 12, 2015

18                                                               Respectfully Submitted,

19                                                               /s/ Linda M. Parisi by e-mail authorization
                                                                 ______________________________________
20
                                                                 Linda M. Parisi
21                                                               Attorney for Guo Ma

22

23 Dated: August 12, 2015                                        BENJAMIN B. WAGNER
                                                                 United States Attorney
24

25                                                               /s/ Linda M. Parisi by e-mail authorization
                                                                 _______________________________________
26                                                               Christiaan Highsmith, Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
27

28                                                           2
       Stipulation and [Proposed] Order for Continuance of
29     Status Hearing and for Exclusion of Time

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                                        IN THE UNITED STATES DISTRICT COURT
 8
                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
      UNITED STATES OF AMERICA                                          Case No. 2:14 –CR-00330-GEB
11                                                         )
                                       Plaintiff,                       [PROPOSED] ORDER
12
             v.
13

14    GUO MA,
                                   Defendant.
15

16

17                Based on the reasons set forth in the stipulation of the parties filed on August 12, 2015, and
18
     good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS
19
     HEREBY ORDERED that the status conference currently set for August 14, 2015, be vacated and
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     that a status conference be set for August 28, 2015, at 9:00 a.m. The Court finds that the ends of
21
     justice to be served by granting a continuance outweigh the best interests of the public and the
22

23 defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in

24 the parties’ August 12, 2015 stipulation, the time within which the trial of this matter must be

25 ///
26
     ///
27

28                                                               3
           Stipulation and [Proposed] Order for Continuance of
29         Status Hearing and for Exclusion of Time

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                Case 2:14-cr-00330-TLN Document 45 Filed 08/13/15 Page 4 of 4


     commenced under the Speedy Trial Act is excluded during the time period of August 14, 2015,
 1
     through and including August 28, 2015 pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local
 2

 3 Code 25.

 4
     Dated: August 12, 2015
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       Stipulation and [Proposed] Order for Continuance of
29     Status Hearing and for Exclusion of Time

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